Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 1 of 7 PageID #:
                                    1903
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 2 of 7 PageID #:
                                    1904
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 3 of 7 PageID #:
                                    1905
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 4 of 7 PageID #:
                                    1906
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 5 of 7 PageID #:
                                    1907
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 6 of 7 PageID #:
                                    1908
Case: 4:04-cr-00629-RWS   Doc. #: 622 Filed: 09/01/05   Page: 7 of 7 PageID #:
                                    1909
